Case 1:18-cv-07253-NG-PK Document 14 Filed 03/11/19 Page 1 of 2 PageID #: 332
                                                                                   FILED
                                                                                 IN CLERK'S OFFICE
                                                                            U.S. DISTRICT COURT E.O.N.Y.

UNITED ST ATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                             * MAR\120\9 *
-------------------------------------------------------------x               BROOKLYN OFFICE
IN RE DENTSPLY SIRONA, INC.
SECURITIES LITIGATION                                            18 Civ. 7253 (NG)(PK)
-------------------------------------------------------------x
 ORDER APPOINTING THE STRATHCLYDE PENSION FUND AS LEAD PLAINTIFF
         AND APPROVING OF ITS SELECTION OF LEAD COUNSEL

        Upon consideration of: (1) the motion of the Strathclyde Pension Fund ("Strathclyde") for

appointment as Lead Plaintiff and approval of its selection of Lead Counsel; (2) the motion of the

Indiana Public Retirement System and the Public School Teachers' Pension & Retirement Fund

of Chicago ("Indiana and Chicago Teachers") for appointment as Lead Plaintiff and approval of

its selection of Lead Counsel; (3) the Notice of Non-Opposition of the Indiana and Chicago

Teachers to the Strathclyde Motion; and (4) all other pleadings and argument submitted to this

Court; and for good cause shown,

IT IS HEREBY ORDERED THAT:

    1. Strathclyde's Motion is GRANTED.

    2. Strathclyde is APPOINTED to serve as Lead Plaintiff pursuant to Section 21D(a)(3)(B)

         of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the

         Private Securities Litigation Reform Act of 1995, in the above-captioned action.

    3. Strathclyde's selection of Lead Counsel is APPROVED, and Barrack, Rados & Bacine is

         APPOINTED as Lead Counsel for the Class.

    4. Lead Plaintiffs shall file an amended complaint by May 6, 2019.
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         The Clerk of Court is directed to terminate the motions pending at Dkt. Nos. 8 and 9, and

to amend the caption on ECF to "In re Dentsply Sirona, Inc. Securities Litigation."



                                                             SO ORDERED.


                                                             /s/  Nina Gershon
                                                             NINA GERSHON
                                                             United States District Judge

Dated:          March 8, 2019
                Brooklyn, New York




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